      Case 4:21-cv-01407 Document 13 Filed on 09/13/21 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                           UNITED STATES DISTRICT COURT                            September 13, 2021
                            SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                HOUSTON DIVISION

DAVID T. HARMON,                               §
                                               §
        Plaintiff,                             §
VS.                                            §          CIVIL ACTION NO. 4:21-CV-01407
                                               §
DIVERSIFIED ADJUSTMENT SERVICE,                §
INC.,                                          §
                                               §
        Defendant.                             §


                                  ORDER OF DISMISSAL

       In accordance with the Notice of Dismissal filed August 23, 2021 (Doc # 12), this case is

hereby DISMISSED with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure.




       It is so ORDERED. 09/13/2021.


                                               ___________________________________
                                               The Honorable Alfred H. Bennett
                                               United States District Judge




1/1
